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Case No.: 5: 10-cv-00300-WTH-KRS

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

Case No.: §:10-cv-00300-WTH-KRS
ANDREW STURNER, and ©
AQUA MARINE PARTNERS, LLC
A Florida Limited Liability Company, and
AMP II —- TWIN RIVERS, LLC,
A Florida Limited Liability Company
d/b/a Aquamarine Twin Rivers,

Plaintiffs,
V.
CHARLES RAMOS, and
FEMSKIN.COM,
Defendants.
/
PARTIAL FINAL JUDGMENT

THIS CAUSE having come before the Court on the parties and third parties stipulation

and settlement agreement wherein the parties have agreed to the entry of a partial final
judgment pursuant to the Court's powers under 15 U.S.C. § 8131, 15 U.S.C. § 1125(d) and the
Federal Rules of Civil Procedure and the Court having reviewed the pleadings, exhibits,

stipulation and settlement agreement and declarations filed in this matter and the Court being

otherwise fully advised off the premises, it is hereby
ORDERED AND ADJUDGED:

. This Court has subject matter jurisdiction over the claims pursuant to 15 U.S.C. § 1121
and 28 U.S.C. §§ 1331 and 1338 and in personam jurisdiction over the parties.

. JUDGMENT IS HEREBY ENTERED FOR THE PLAINTIFFS as to Counts I and Count
I] of the Plaintiffs complaint. The sole remedy of the Plaintiffs awarded is the transfer of
the domain names ordered herein and no attorney’s fees, damages or statutory damages
are awarded hereby.

. VERISIGN, INC., is hereby ordered to transfer the Registrar of Record of the following
domain names (the “Infringing Domain Names”) to the Registrar of Record of the
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Plaintiff's choosing:
a. the domain name “www.andrewsturner.com”;
b. the domain name “www.theaquamarinas.com”;
c. the domain name “www.aquamarinatwinrivers.com”;
d. the domain name “www.twinriversaquamarina.com”;

4. The aforementioned domain names shall be transferred to the ownership and control of
AQUA MARINE PARTNERS, LLC, a Florida Limited Liability Company or its
designee.

5. The successors, assigns, heirs and/or Estate of Charles Ramos and the Defendant
FEMSKIN.COM shall execute any and all documents required by the Plaintiffs to
effectuate the transfer of the domain names if required.

6. But for the judgment transferring the domain names contained herein, all remaining

claims raised in Counts I, II, IIL, IV, V, VI and VII are hereby dismissed.

7. Each of the Plaintiffs and Defendants shall each bear their own attorney’s fees and costs
associated with this action.

8. The Cash Bond in the amount of $10,000.00 posted by the Plaintiffs on 07/16/2010
(Docket Entry #8) for the issuance of the Temporary Restraining Order shall be forthwith
returned by the clerk of court by check made payable to Richard Baron & Associates,
Trust Account, 501 Northeast Ist Avenue, Suite 201, Miami, Florida 33132, Tel: 305-
577-4626, Fax: 305-577-4630.

9. The Court retains jurisdiction to enforce this Final Judgment as required.

DONE AND ORDERED THIS THE 6™ ay OF JULY, 2011.

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UNITED STATES DISTRICT COURT JUDGE

Copies to Counsel via ECF
James T. Hubler, Esq., Senior Corporate Counsel, of VeriSign, Inc., via email:
jhubler@verisign.com
